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                                            8 August 2021

VIA CM/ECF

Hon. Colleen Kollar-Kotelly
District Judge
United States District Court for the
 District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

                                Re: Silver v. Internal Revenue Service, 1:20-cv-01544-CKK

Dear Judge Kollar-Kotelly:
On September 19, 2020, Defendants’ motion to dismiss was fully briefed and submitted to the
court. (Docket #11). On February 16, 2021, the Court stayed the case pending a ruling on a specific
issue in a related case. (Docket #12)
On March 28, 2021, Judge Mehta in the related case issued a ruling which did not address the issue
for which the stay was issued. And in any case, as has been fully briefed, that issue is a matter of fact
which should be decided in favor of plaintiffs at this stage.

Given that Plaintiffs and a vast number of similarly situated small businesses are suffering on-going
injury, we respectfully request that the Court consider lifting the pending stay and ruling on the
motion to dismiss. If the Court requires, Plaintiffs are prepared to submit a formal motion and
proposed order.

                                                Respectfully,

                                                /s/
                                                ___________________________

                                                L. Marc Zell
                                                Counsel for Plaintiffs


cc(ECF): Nishant Kumar, Esq., Counsel for Defendants
